Case 1:13-md-02419-RWZ Document 668-1 Filed 12/20/13 Page 1 of 8




                    EXHIBIT 1
Case 1:13-md-02419-RWZ Document 668-1 Filed 12/20/13 Page 2 of 8
Case 1:13-md-02419-RWZ Document 668-1 Filed 12/20/13 Page 3 of 8
Case 1:13-md-02419-RWZ Document 668-1 Filed 12/20/13 Page 4 of 8
Case 1:13-md-02419-RWZ Document 668-1 Filed 12/20/13 Page 5 of 8
Case 1:13-md-02419-RWZ Document 668-1 Filed 12/20/13 Page 6 of 8
Case 1:13-md-02419-RWZ Document 668-1 Filed 12/20/13 Page 7 of 8
Case 1:13-md-02419-RWZ Document 668-1 Filed 12/20/13 Page 8 of 8
